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 8                                UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         No. 2:07-cr-0248-17 WBS DAD P
                                                           2:12-cv-2861 WBS DAD
12                      Respondent,
13          v.                                         ORDER
14   OSCAR CAMPOS PADILLA,
15                      Movant.
16

17          Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside or

18   correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United States

19   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On September 20, 2013, the magistrate judge filed findings and recommendations herein

21   which were served on all parties and which contained notice to all parties that any objections to

22   the findings and recommendations were to be filed within fourteen days. Neither party has filed

23   objections to the findings and recommendations.

24          The court has reviewed the file and finds the findings and recommendations to be

25   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

26   ORDERED that:

27          1. The findings and recommendations filed November 20, 2013, are adopted in full;

28          2. Movant’s motion to vacate, set aside, or correct his sentence is denied;
                                                      1
     Case 2:07-cr-00248-WBS-DB Document 1266 Filed 11/15/13 Page 2 of 2


 1              3. The court declines to issue the certificate of appealability referenced in 28 U.S.C. §

 2   2253; and

 3              4. The Clerk of the Court is directed to close the companion civil case, No. 2:12-cv-2861

 4   WBS DAD.

 5   Dated: November 15, 2013

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 8   .801.vac

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